Case 1:20-cv-00984-WCB         Document 399        Filed 02/03/25      Page 1 of 4 PageID #: 19775




                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

   PROLITEC INC.,

                  Plaintiff/Counterclaim-
                  Defendant,
                                                       C.A. No. 20-984-WCB
          v.

   SCENTAIR TECHNOLOGIES, LLC,

                  Defendant/Counterclaim-
                  Plaintiff

     STIPULATION AND [PROPOSED] SCHEDULE FOR PRETRIAL EXCHANGES

         Plaintiff/Counterclaim-Defendant Prolitec Inc. and Defendant/Counterclaim-Plaintiff

  ScentAir Technologies, LLC hereby stipulate, subject to the approval of the Court, to the following

  schedule for Pretrial Exchanges related to the upcoming trial in April 2025:

                   Pretrial Item                                        Date
    ScentAir provides draft of Pretrial Order                     February 10, 2025
    (with sections under L.R. 16.3(c)(1-13)),
    including any affirmative Deposition
    Designations for witnesses to be called by
    deposition and ScentAir’s Exhibit List

    ScentAir provides drafts of Voir Dire,                        February 10, 2025
    Verdict Form, Preliminary Jury
    Instructions, Final Jury Instructions

    Prolitec provides any Objections and                          February 17, 2025
    Counter- Designations to ScentAir’s
    affirmative Deposition Designations

    Parties Exchange Lists of Potential                           February 17, 2025
    Motions In Limine

    Parties Meet and Confer to Narrow                             February 19, 2025
    Issues Regarding Motions In Limine
Case 1:20-cv-00984-WCB          Document 399        Filed 02/03/25     Page 2 of 4 PageID #: 19776




                    Pretrial Item                                      Date
    Prolitec provides redlined drafts of Pretrial                February 24, 2025
    Order (with sections under L.R. 16.3(c)(1-
    13)), including any affirmative Deposition
    Designations for witnesses to be called by
    deposition by Prolitec, any Objections to
    ScentAir’s Exhibit List, and Prolitec’s
    Exhibit List (including identification of
    Joint Exhibits)

    Prolitec provides redlined drafts of Voir                    February 24, 2025
    Dire, Verdict Form, Preliminary Jury
    Instructions, Final Jury Instructions

    ScentAir provides Objections to Prolitec’s                   February 24, 2025
    Counter-Designations and any Counter-
    Counter Designations

    Exchange Motions In Limine                                   February 24, 2025


    ScentAir provides Objections and Counter-                        March 3, 2025
    Designations to Prolitec’s affirmative
    Deposition Designations, and any
    Objections to Prolitec’s Exhibit List

    Prolitec provides Objections to                                  March 3, 2025
    ScentAir’s Counter-Counter
    Designations

    Prolitec’s Objections to ScentAir’s                              March 7, 2025
    Counter-Designations and any Counter-
    Counter Designations

    Exchange Motion In Limine Responses                              March 7, 2025

    ScentAir’s Objections to Prolitec’s                              March 10, 2025
    Counter-Counter Designations

    Parties meet and confer to reduce the                            March 11, 2025
    number of disputes over exhibits and
    deposition designations as much as
    possible




                                                    2
Case 1:20-cv-00984-WCB           Document 399           Filed 02/03/25        Page 3 of 4 PageID #: 19777




                   Pretrial Item                                               Date
    Meet and Confer Regarding Pretrial                                     March 13, 2025
    Order, Jury Instructions, Proposed Voir
    Dire, and Special Verdict Form

    Exchange Motion In Limine Replies                                      March 14, 2025

    Parties provide court with list of exhibits and                        March 14, 2025
    electronic copies of all exhibits and
    deposition designations each party intends to
    offer at trial that are still objected to at that
    time

    Court conducts an off-the-record meeting (in                           March 17, 2025
    chambers if there are more than 25                        (or at another time subject to the Court’s
    remaining disputes over admissibility of trial                           availability)
    exhibits and deposition designations;
    otherwise by telephone)

    File Final Pretrial Order                                              March 18, 2025
                                                                 (fourth business day before Pretrial
                                                                       Conference, unchanged)
    File Preliminary and Proposed Jury                                     March 18, 2025
    Instructions, Voir Dire, and Verdict Form                    (fourth business day before Pretrial
                                                                       Conference, unchanged)
    Parties exchange final stamped PDF                                     March 21, 2025
    Copies of Exhibits and Native Files
    identified on Exhibit Lists

    Pretrial Conference                                         March 24, 2025, 2:00 p.m. via Zoom
                                                                           (unchanged)
    Trial                                                        April 21, 2025 – April 25, 2025
                                                                           (unchanged)


  Dated: February 3, 2025

   AKERMAN LLP                                              K&L GATES LLP

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                                                        3
Case 1:20-cv-00984-WCB       Document 399    Filed 02/03/25      Page 4 of 4 PageID #: 19778




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  IT IS SO ORDERED this ____ day of __________, 2025.

                                         ____________________________________
                                         The Hon. William C. Bryson
                                         United States District Judge, by designation




                                            4
